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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 10–CV–01546–REB–CBS



The Direct Marketing Association,

             Plaintiff,
             v.

Roxy Huber, in her capacity as Executive
  Director, Colorado Department of Revenue,

             Defendant.


______________________________________________________________________

            DECLARATION OF PROFESSOR KEVIN LANE KELLER
______________________________________________________________________

       I, Kevin Lane Keller, pursuant to 28 U.S.C. § 1746, do depose and state as

follows:

   1. I am the E.B. Osborn Professor of Marketing at the Tuck School of Business at

Dartmouth College. I have been retained by the law firm of Brann & Isaacson, as

counsel to the Direct Marketing Association (“DMA”), to present my opinions regarding

the effect that a new Colorado law (House Bill 10-1193, “An Act Concerning The

Collection Of Sales And Use Taxes On Sales Made By Out-Of-State Retailers, And

Making An Appropriation Therefor” (“the Act”)), will have on the business of affected

Internet and catalog retailers, and on their relationships with Colorado customers. My

opinions in that regard are based upon my experience and expertise in the field of

marketing, as well as on my review of the result of a survey of Colorado consumers

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conducted in June 2010 by Resource Systems Group, Inc. (“RSG”), concerning

consumers’ reactions to the requirements of the Act and of related regulations adopted

by the Colorado Department of Revenue (“Department”). I conclude, as described

more fully in this declaration, that out-of-state retailers affected by the law will likely

suffer lost sales and permanent injury to their relationships with customers as a result of

complying with the requirement that they disclose their customers’ purchasing

information to the Department.

   2. Much of my work, both as an academic and as a consultant to businesses,

focuses on the relationship between retailers (or brands) and consumers, including the

importance to a retailer (or brand) of establishing and maintaining the trust of its

customers. My work also frequently involves the use and/or analysis of consumer

surveys. During my MBA and PhD studies, I took graduate level courses in marketing

research that included survey design and interpretation. Since receiving my PhD, I

have run countless academic research studies that involved the design, conduct and

analysis of surveys. Many of my activities with consulting clients have also involved

survey work, including projects with Procter & Gamble, Ford, Samsung, and other

companies. A copy of my current curriculum vitae is attached hereto as Exhibit A.

   3. It is my understanding that the new Colorado law requires out-of-state retailers

who do not collect Colorado sales tax to: (a) give Colorado purchasers notice with each

transaction that the retailer does not collect Colorado sales tax, but that the purchaser

has an obligation to self-report use tax to the Department, even on catalog and Internet

sales; (b) send each Colorado purchaser (at least those who purchase $500 in taxable


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goods or services from the retailer) an annual notice informing them, among other

things, of their total purchase amount for the past year and that the retailer is required to

report their name and total amount of purchases to the Department; and (c) file an

annual report with the Department listing for each Colorado purchaser (regardless of

purchase amount) the purchaser’s name, billing address, shipping address and total

amount of purchases.

   4. I am aware that RSG conducted a survey of Colorado consumers in June 2010

to determine their reactions to the requirements of the new Colorado law. Indeed, I

reviewed a draft of the survey questionnaire when it was being prepared, and I have

reviewed a document prepared by RSG entitled “Colorado Consumer Survey, Final

Results,” dated August 9, 2010 (“Final Results”), setting forth the results of the full

survey. A copy of the Final Results is attached to the Declaration of Thomas J. Adler,

PhD, as Exhibit B. I have also reviewed the declaration of Dr. Adler concerning the

survey.

   5. The objectives of the RSG survey were: (1) to determine whether Colorado

consumers consider the requirement that out-of-state retailers must report their

purchasing information to the Department to be an invasion of their privacy or, instead,

if Colorado consumers do not mind the disclosure of such information to the

Department; and (2) to determine whether the reporting requirement will affect, in any

way, Colorado consumers’ future purchases from out-of-state retailers who are required

to provide such information to the Department. Based on my understanding of the

requirements of the new law and the objectives of the survey, I believe that the survey


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was well-designed and executed. I am confident in relying upon the results of the

survey in support of my opinions expressed in this declaration.

            Retailers Who Must Disclose Customer Purchasing Information
                   to the Department Will Lose Sales as a Result

   6. Based upon my experience in the field of consumer marketing, and the results of

the RSG Survey, it is my opinion that many consumers will view negatively the

obligation of affected out-of-state retailers to disclose the customers’ names, addresses

and amount of purchases to a government agency. Indeed, many consumers who

become aware of the requirement, including past or current customers of the retailer,

will be less likely to make a purchase from such a retailer than they would be if the

retailer was not required to report their information to the government. This will be just

as true for consumers residing in Colorado as in any other state.

   7. As a result, retailers required to make such disclosures to the Department will

lose a substantial portion of their Colorado sales. The amount of such lost sales for any

particular retailer will depend upon a number of factors, but for a law that applies

broadly to all Internet and catalog retailers with Colorado gross sales in excess of

$100,000 that do not collect Colorado sales tax, the aggregate volume of such lost

sales, industry wide, will be very large.

   8. My conclusion that Internet and catalog retailers who are required to disclosure

their customers’ information to the Department will lose sales as a result is supported by

the results of the RSG survey. The results of the survey show that two-thirds of

Colorado Internet and catalog shoppers (67%) who aware of the disclosure requirement

will decrease their purchases from such retailers in the coming year. Even more

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tellingly, when asked to reflect upon a recent purchase from an out-of-state retailer that

does not collect Colorado sales tax, sixty-three percent (63%) of Colorado consumers

would most likely not make a similar purchase again from the affected the out-of-state

retailer because of the disclosure requirement. In stark contrast, Colorado retailers will

be directly benefitted by the law: forty-three percent (43%) of Colorado catalog/online

purchasers responded to the RSG survey that they will make future purchases instead

from a Colorado retailer that is not required to disclose their purchase information to the

Department. Of course, out-of-state Internet and catalog sellers can never recoup the

sales they will lose from customers who decided not to buy from them, or who choose to

buy from another, Colorado retailer.

                   The Harm to Retailers’ Customer Relationships
                        and Businesses Will Be Permanent

   9. There are other, potentially more serious, even permanent, consequences for

affected out-of-state retailers that elect to comply with the new law and turn-over such

customer information to the Department. By disclosing customer purchasing

information to the Department, even if required to do so by law, out-of-state retailers will

definitely alienate customers in Colorado and elsewhere, including many of their best

customers (whom the retailer will be required to inform directly of the requirement that

the retailer must report such information to the Department).

   10. Establishing a relationship of reliability and trust with customers is the key to the

long-term success of most retailers or brands. High levels of customer satisfaction with

a retailer derive not just from the retailer’s products, but from the entire customer

experience. For many of the most successful Internet and catalog retailers and brands,

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customer satisfaction depends upon maintaining the security and privacy of a

customer’s personal information, and not willingly disclosing it to any third-party,

including a state government agency. This is a major reason why almost all direct

marketers adopt clear privacy policies and disclose those policies to the public.

   11. The privacy and security of personal information in the hands of both

businesses and government agencies remains a significant concern to many

consumers, and the extent to which government should be permitted access to

customer information maintained by businesses is much debated by policy makers. As

the results of the RSG survey indicate, many consumers view information maintained by

companies with which they do business, including generalized information such as their

identity as a customer of the company and the frequency or volume of their

transactions, to be private, confidential information that they would prefer not be shared

with the government. Companies that consent to allow governmental access to such

personal customer information, rather than resist government demands for it, are

viewed negatively by consumers, as the revelation in 2006 that telecommunications

providers Verizon, AT&T and Bell South may have disclosed customer phone records to

the National Security Agency illustrates.

   12. Breaching trust with the customer and failing to live up to customer expectations

regarding protection of sensitive transaction information will have a long-lasting

detrimental effect on a retailer. Once the relationship of trust with a customer is

destroyed, many such customers will be permanently lost. Retailers that comply with

the requirements of the Colorado law by disclosing their customers’ information to the


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Department can expect to lose customers (and thus future sales) in Colorado and

elsewhere, as a result.

   13. My conclusions in this regard are supported by the results of the RSG survey.

The survey shows that an overwhelming majority ― nearly 70% (including 44% who

“strongly agree”) ― of Colorado online and catalog shoppers believe that the

requirement of the new law that out-of-state retailers must report their customers’

purchase information to the Department constitutes an invasion of privacy, while only

14% of such consumers report that they do not mind the disclosure. Such strong

consumer sentiment indicates that retailers who make such disclosures will damage

their relationships with many Colorado customers with lasting negative effects on the

retailers’ sales and business.




I declare under penalty of perjury that the foregoing is a true and correct.

Executed on this 10th day of August, 2010



                                                 /s/ Kevin Lane Keller
                                                 Kevin Lane Keller




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